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                                   November 5 , 2020
ViaECF
Honorable Kimba M. Wood
United States District Court
Southern District of New York                                MEMO ENDORSED
500 Pearl Street
New York, NY 10007

     Re: United States v FNU LNU-1 (Mai-Hua Huang) ,
          81 10 CR 878 (KMW)

Dear Judge Wood:

     In connection with the above referenced matter, this court, on a
motion by the Government, Ordered the case against Ms. Huang be
closed and dismissed, nolle prosequi. This Order was entered on
February 6 , 2012 (DE 316, attached as Exhibit A).

     I write because when reviewing the actual Order issued by the
court in 2012, I realized that it does not actually contain Ms. Huang's
name. As a result, when Ms. Huang met with Immigration Officials in
connection with her citizenship application, they apparently and
mistakenly thought her case was still open.

     As such, I am respectfully requesting the court issue a "new
order" , nunc pro tune, including her name. This will help clarify any
issues with the Immigration Department concerning this case.
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     Thank you for your considerations.


                                  Very truly yours,

                                       /s/
                                  Scott Leemon

Enclosure                                    ~      pClA..-t   \£.)   Sh..ctl I SU.b\'¼-\t

cc: US Attorney's Office (via ecf)        a. (\..(...'--'.} f>~t>bkp( or~ .fur
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                                             . SO ORDERED: N.Y., N.Y.            11/sja-o

                                                  KI MBA M. WOOD
                                                       U.S.D.J.
